Case 1:05-cr-10056-.]DT Document 34 Filed 08/08/05 Page 1 of 2 Page|D 32

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Piaintirr, IN|TIALS: §§
v. or. No. 05-10056-02-T/An

FRANK|E |\ll|LLER1

Defendant.

 

ORDER ON ARRA|GNMENT

 

This pause Came to be heard on August 8, 2005. The Assistant United States Attorney
appeared on behalf of the government, and the defendant appeared in person and with the
following oounse|, who is appointed:

|\lAi\/|E: Bob Hooper
ADDRESS:

TELEPHONE:

The defendant, through counsel, waived formal arraignment and entered a plea of not
guilty.

Al| motions shall be filed within thirty (30) days from the date hereof unless, for good pause
shown to a Distriot Judge, such period is extended

The defendant, who is not in custody, may stand on his/her present bond.

/The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (t)eirlq held without bond pursuant to BRA of 1984), is remanded to the custody of the

 

 

U.S. l\/larshal.
/ H#
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S. THOMAS ANDERSON
United States l\/|agistrate Judge
Charges: felon in possession of a firearm; possession/receipt of stolen firearms

Assistant U.S. Attorney assigned to case: Powe|l
Ru|e 32 was: waived ¢/not waived

Defendant's age: 3q

This document entered on the docket sheet in compliance

with Rule 55 and/or32(b) FRCrP on & l /OJ 0 5 3%

 

UNIT§D STAT§S DISTRICT COURT- W§ST§ §N DISTRICT OF T§NN§SS§§

Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 1:05-CR-10056 Was distributed by faX, mail, or direct printing on
August 10, 2005 to the parties listed.

 

 

J ames W. Povvell

U.S. ATTORN§Y'S OFFIC§
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Ste. 300

Jackson7 TN 38301

Bob C. Hooper

LAW OFFIC§S OF DAV]D CAl\/[P, PLLC
250 N. Parkvvay

Ste. 29

Jackson7 TN 38305

Honorable J ames Todd
US DISTRICT COURT

